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 6

 7

 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
     SHAWNAE DOWE,                      )               Case No. 2:21-cv-01751-JCM-EJY
10                                      )
                                        )
11                        Plaintiff,    )
                                        )
12   vs.                                )               JOINT MOTION FOR EXTENSION OF
                                        )               TIME FOR DEFENDANT EQUIFAX
13                                      )               INFORMATION SERVICES LLC TO
     EQUIFAX INFORMATION SERVICES, LLC; )
     EXPERIAN INFORMATION SOLUTIONS, )                  FILE ANSWER
14
     INC.; FLAGSTAR BANK; and SYNCHRONY )
                                        )               SECOND REQUEST
15   FINANCIAL dba SYNCB/CARE CREDIT,
                                        )
                                        )
16                        Defendants.   )
17          Defendant Equifax Information Services LLC (“Equifax”) has requested an extension of
18   time to answer, move or otherwise respond to the Complaint in this matter, to which Plaintiff has
19   no opposition. Accordingly, pursuant to LR IA 6-2, IT IS HEREBY STIPULATED AND AGREED
20   to by and among counsel, that Defendant Equifax Information Services LLC’s time to answer,
21   move or otherwise respond to the Complaint in this action is extended from November 22, 2021
22   through and including December 22, 2021. The request was made by Equifax so that
23   ...
24   ...
25   ...
26   ...
27   ...
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     Case 2:21-cv-01751-JCM-EJY Document 22 Filed 11/19/21 Page 2 of 2



 1   the parties may have additional time to engage in settlement discussions, and Plaintiff approves.

 2   This stipulation is filed in good faith and not intended to cause delay.

 3          Respectfully submitted, this ___th day of November, 2021.

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     CLARK HILL PLLC                                        Services LLC
 5                                                          No opposition
     By: /s/Jeremy J. Thompson
 6   Jeremy J. Thompson                                      /s/Michael Kind, Esq.
     Nevada Bar No. 12503                                   Michael Kind, Esq.
 7
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19                                                         Attorneys for Plaintiff

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21
     IT IS SO ORDERED:
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23   __________________________________
     United States Magistrate Judge
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     DATED: November 19, 2021
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